
745 N.W.2d 767 (2008)
46TH CIRCUIT TRIAL COURT, Plaintiff-Appellee,
v.
COUNTY OF CRAWFORD Defendant-Appellant,
Crawford County Board of Commissioners, Defendant, Counter-Plaintiff, Third-Party Plaintiff-Appellant,
Kalkaska County, Third-Party Plaintiff, Counter-Defendant-Appellant, and
Otsego County, Third-Party Defendant-Appellee.
Docket Nos. 133759, 133760. COA Nos. 256129, 257234.
Supreme Court of Michigan.
March 21, 2008.
On order of the Court, the application for leave to appeal the March 27, 2007 judgment of the Court of Appeals is considered, and it is DENIED, because we are not persuaded that the questions presented should be reviewed by this Court. A public question being involved, and in light of the relationships between the parties, no costs are awarded.
MARILYN J. KELLY, J., would grant leave to appeal.
